          Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 1 of 17




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ROBIN SHAHINI                                     :   JURY DEMAND
                                                  :
                                                  :   CIVIL ACTION No.
                              Plaintiff           :
                                                  :
                       v.                         :
                                                  :
THE GOVERNMENT OF THE                             :
ISLAMIC REPUBLIC OF IRAN,                         :
Its Ministries, Agencies, and Instrumentalities   :
c/o Ministry of Foreign Affairs                   :
Khomeni Avenue                                    :
United Nations Street                             :
Tehran, Iran                                      :
                               Defendant          :
                                                  :
HOSSIEN TAEB,                                     :
Head of the Intelligence Bureau,                  :
of the Islamic Revolution Guards Corps (IRGC)     :
                                                  :
MOHAMMAD ALI JAFARI                               :
Commander of the Islamic Revolution               :
Guards Corps (IRGC)                               :
                                                  :
MOHAMMAD HOSSIEN ZIBAINEJAD                       :
Deputy for Intelligence Bureau of the Islamic     :
Revolution Guards Corps (IRGC)                    :
                                                  :
QASEM SOLEIMANI                                   :
Senior Military Officer Islamic Revolution        :
Guards Corps andCommander of Quds Force.          :
                                                  :
MOHAMMAD BAGHERI                                  :
Chief of Staff for the Armed Forces of the        :
Islamic Republic of Iran                          :
                                                  :
SADEQ ARDESHIR LARIJANI                           :
Chief Justice of Iran                             :
Iran Judicial System                              :
                                                  :
          Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 2 of 17




GHOLAM-HOSSEIN MOHSENI-EJE’I                      :
First Vice Chief Justice & Judiciary Spokesperson :
Iran Judicial System                              :
                                                  :
ABBAS JAFARI DOLATABADI                           :
Tehran Chief Prosecutor                           :
                                                  :
                       RICO DEFENDANTS            :

_________________________________________________________________________


                                           COMPLAINT


       Plaintiff Robin Shahini complains of the actions of the Defendant, The Government of

the Islamic Republic of Iran, its Ministries, Agencies, and Instrumentalities, and states in support

thereof as follows:

                                             PARTIES

       1. Plaintiff Robin Shahini (“Plaintiff”) is a U.S. citizen and a resident of California.

Plaintiff was falsely arrested, imprisoned, and tortured for an extended period of time by the

Defendants, The Government of the Islamic Republic of Iran, its Ministries, Agencies, and

Instrumentalities (hereinafter referred to as “Iran”).

       2. Iran is a “foreign state” within the meaning of the FSIA. See 28 U.S.C. § 1603 that has

been designated a state sponsor of terrorism pursuant to Section 6(j) of the Export

Administration Act of 1979 (50 U.S.C. App. § 2405(j)), both at the time of the matters at issue in

this Complaint and at the time this Complaint was filed. Iran’s activities and conduct complained

of herein were outside the scope of immunity provided by the Foreign Sovereign Immunities Act

(“FSIA”), including 28 U.S.C. § 1605A.
             Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 3 of 17




                                         JURISDICTION

        3. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1330 and 1331, and pursuant

to the FSIA, 28 U.S.C. § 1605A.

        4. Venue lies in this Court pursuant to 28 U.S.C. § 1391(f)(4).

        5. Plaintiff was domiciled in the State of California at the time of his

confinement and torture.

                                    STATEMENT OF FACTS

        6. Plaintiff was born in Iran, but left in 1998. He emigrated to the United States in 2000.

He was naturalized as a United States Citizen in 2005.

        7. Plaintiff graduated from San Deigo State University (“SDSU”) with a degree in global

business management.

        8. Plaintiff graduated in May 2016 from San Diego State University with a

degree in International Security & Conflict Resolution, and had been accepted to SDSU's

graduate program in Homeland Security.

        9. In late May 2016, Plaintiff traveled to Iran to visit his ailing mother and other

relatives.

        10. Prior to travel, the Plaintiff obtained authorization to travel to Iran from the Iranian

Interests Section of the Pakistani Embassy in Washington, D.C. In accordance with and reliance

on the permission granted by Iran after review of his application, Plaintiff traveled in compliance

with the permission he was granted by Iran.

        11. On July 11, 2016, just nine days before he was scheduled to return home, Plaintiff

was stopped by members of the Iran's Islamic Revolutionary Guard Corps (hereinafter “IRGC”),

all of whom were heavily armed. Plaintiff was arrested and imprisoned by Iran without warning,
          Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 4 of 17




nor notice of having committed any unlawful act.

       12. Plaintiff was not afforded the opportunity to notify his family or others of his

unlawful detention. Despite repeated inquires, Iran did not inform Plaintiff's family of where or

why he was arrested and detained.

       13. Upon Plaintiff's arrest, he was taken immediately to an clandestine IRGC location in

Gorgon City, Iran wherein he was confined to a 5 ft. x 8 ft. cell with dim lighting. Plaintiff was

then transferred to another cell of the same dimensions with extremely bright lighting, all

intended to create extreme discomfort and inflict intentional harm upon Plaintiff. To the best of

Plaintiff's belief, he was kept at this location under these conditions for approximately sixteen

(16) days.

       14. Plaintiff was then abruptly taken to Amirabad Prison, at every moment in the custody

and detention by Iran.

       15. During those months, and during the entirety of his captivity, Plaintiff suffered

prolonged and continuous physical abuse at the hands of Iran and the Islamic Revolutionary . The

torture that Plaintiff endured included sleep deprivation, interrogation, and placement in solitary

confinement without cause. Iran recorded the interrogations of the Plaintiff, and made it known

to the Plaintiff that the recordings were played for his family, all designed to increase the

emotional and psychological infliction of suffering upon the Plaintiff. He was denied proper

medical care and suffered severe malnutrition. Plaintiff was shackled in an intentional manner

designed to restrict movement, deny comfort, and cause pain. Notwithstanding suffering from

asthma, Iran placed the Plaintiff in confinement with external factors, including cramped quarters

with no ventilation and cigarette smoke, all intentionally designed to inflict suffering, and

maintain a constant campaign of terror against the Plaintiff. The cell block held 300 - 400
          Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 5 of 17




inmates, and consisted of cells approximately 8 meters by 4 meters. Each cell housed 30-40

individuals, who shared eighteen (18) bunks. Even though the Plaintiff is a non-violent

individual, Iran placed him in a cell block with hardened and violent criminals; two gang

members attacked the plaintiff in the prison bathroom using a handmade garrote, and inflicted

serious physical injury and emotional trauma upon the Plaintiff. This attack was at the direction

of Iran. To enhance the consistent climate of terror, Iran caused the Plaintiff to be repeatedly and

randomly taken to a room reserved for inmates awaiting imposition of their sentence of death; all

designed to terrorize the Plaintiff and bring about intense fear that Plaintiff was about to be

executed. To exacerbate Plaintiff’s suffering, a prison official directed all inmates to have no

communication nor interaction with the plaintiff, denied telephone use and any outside visitation

from friends or family, denied use of inmate facilities such as the library or gymnasium, and even

falsely publishing to the general inmate population that the Plaintiff was an evil individual who

was infected with deadly and communicable diseases. In contravention to Iranian custom and

law, as a political prisoner, Plaintiff was not supposed to be housed with those accused with

criminal offenses.

        16. Plaintiff was not permitted to speak with legal counsel or permitted to call or visit

with his family. He was denied any consular access to the U.S. Interests Section in Iran in

violation of the Vienna Convention on Consular Relations. Eventually, plaintiff went on a hunger

strike to protest the terror that was inflicted upon him by Iran. In an effort to break his will,

prison officials threatened to allow inmates to rape the Plaintiff.

        17. Plaintiff was told that all of these abuses would continue for as long as it took unless

and until he confessed to being a spy for the CIA. Plaintiff refused to sign any confession. The

defendants repeatedly told the Plaintiff that if he did not sign the confession that he would be
          Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 6 of 17




kept in solitary confinement for years and information about his status would not be given to his

family or friends. Essentially that he would disappear.

       18. In October 2016, just three months after Plaintiff's arrest and imprisonment—

Iran’s Revolutionary Court held a brief trial behind closed doors on the false allegations made

against the Plaintiff. Plaintiff was not permitted to meet his court-appointed defense attorney

and his attorney was not allowed to study his case.

       19. On October 15, 2016, the Revolutionary Court in Gorgan City sentenced him to 18

years in prison for “acting against national security,” “participating in protest gatherings in

2009,” “collaborating with Voice of America (VOA) television” and “insulting the sacred on

Facebook.”

       20. Plaintiff returned to solitary confinement, continuing to suffer the abuses

described above and anticipating his execution.

       21. Plaintiff's confinement caused him severe and extreme psychological

distress, both during his imprisonment and after his release. Since returning home, Plaintiff has

suffered post-traumatic stress disorder and other lasting psychological damage from his captivity

and torture.

                                    COUNT I
                   (PERSONAL INJURIES CAUSED BY TORTURE AND
                        HOSTAGE-TAKING: 28 U.S.C. § 1605A)

       22. Paragraphs 1 through 21 are incorporated herein as though fully set forth.

       23. Plaintiff was a citizen of the United States when arrested and held unlawfully by Iran.

While being held, Plaintiff was physically and psychologically tortured as described herein.

These acts of terrorism, torture, and hostage taking were perpetrated by officials, members, and

agents of the IRGC and other agents and instrumentalities of Iran while acting within the scope
             Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 7 of 17




of their official capacities.

           24. Anti-terrorism provisions codified at 28 U.S.C. § 1605A(a) establish a federal

right of action against Iran for committing acts of hostage-taking and torture.

           25. Section 1605A provides four elements for a claim against a foreign state, all of

which are met here:

                  a. That defendant be designated as a state sponsor of terrorism;

                  b. That claimant be a national of the United States;

                  c. That the foreign country must be given reasonable opportunity to arbitrate that

                  claim if the conduct took place on foreign soil; and

                  d. That the act alleged to be caused by “an act of torture, extrajudicial killing,

                  aircraft sabotage, hostage taking, or the provision of material support or

                  resources for such an act . . . .”

           26. Iran was designated a state sponsor of terrorism by the Secretary of State on

January 19, 1984. See 49 Fed. Reg. 2836 (Jan. 23, 1984).

           27. Plaintiff was a citizen of the United States at the time of his imprisonment and

torture.

           28. The definition of “torture” under the FSIA, derived from § 3 of the Torture

Victim Protection Act of 1991 (“TVPA”), Pub. L. No. 102-256, 106 Stat. 73 (Mar. 12, 1992),

codified at 28 U.S.C. § 1350 (note), includes:

                  Any act, directed against an individual in the offender’s custody or

                  physical control, by which severe pain or suffering (other than pain or

                  suffering arising only from or inherent in, or incidental to, lawful

                  sanctions), whether physical or mental, is intentionally inflicted on that
          Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 8 of 17




               individual for such purposes as obtaining from that individual or a third

               person information or a confession, punishing that individual for an act

               that individual or a third person is committed or is suspected of having

               committed, intimidating or coercing that individual or a third person, or

               for any reason based on discrimination of any kind.

        29. While Plaintiff was in Iran’s custody and control, Iran intentionally subjected

Plaintiff to severe pain and suffering, including solitary confinement, physical and mental abuse,

and threats against his life, all with the intent to obtain a false confession and coerce his

cooperation. Iran’s conduct constitutes torture as defined under the FSIA.

        30. “Hostage-taking” under the FSIA, as derived from Article 1 of the United Nations

International Convention Against the Taking of Hostages, No. 21931 (Nov. 1, 1979), is defined

as follows:

               Any person who seizes or detains and threatens to kill, to injure or to

               continue to detain another person (hereinafter referred to as the “hostage”)

               in order to compel a third party, namely, a State, an international

               intergovernmental organization, a natural or juridical person, or a group of

               persons, to do or abstain from doing any act as an explicit or implicit

               condition for the release of the hostage commits the offence of taking of

               hostages (“hostage-taking”) within the meaning of this Convention.

        31. Iran detained Plaintiff on false espionage charges and threatened to kill, injure,

and continued to detain Plaintiff for eight (8) months in an attempt to win money or other

concessions from the United States. Iran’s conduct was hostage-taking as defined under the

FSIA.
          Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 9 of 17




       32. A foreign state is held vicariously liable for the acts of its officials, employees, or

agents. 28 U.S.C. § 1605A(c)(4).

       33. Plaintiff continues to suffer physical and psychological harm to this day as a

result of his hostage-taking and torture by Iran.

                                     COUNT II
              (§ 1605A(c) CAUSE OF ACTION – ASSAULT AND BATTERY)

       34. Paragraphs 1 through 33 above are incorporated as if set forth herein.

       35. Iran committed or is responsible for numerous acts of assault and battery upon

Plaintiff during his confinement and torture.

       36. Under the FSIA, a foreign state stripped of its immunity “shall be liable in the

same manner and to the same extent as a private individual under like circumstances.” 28 U.S.C.

§ 1606.

       37. Iran is stripped of its immunity under the FSIA because of its acts of hostage taking

and torture, and is therefore liable for torts in the same manner and to the same extent as a private

individual.

       38. Iran applied force to the person of Plaintiff and took actions reasonably tending

to create the apprehension of Plaintiff that it was about to apply such force to him. Iran also

intended harmful or offensive contact with Plaintiff without his consent. Iran’s conduct

included intentionally and repeatedly threatening Plaintiff’s life, threatening bodily injury, and

physically attacking Plaintiff.
         Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 10 of 17




                                   COUNT III
           (§ 1605A(c) CAUSE OF ACTION – INTENTIONAL INFLICTION OF
                              EMOTIONAL DISTRESS)

        39. Paragraphs 1 through 38 above are incorporated as if set forth herein.

        40. Iran’s use of solitary confinement, threats and physical abuse, and restrictions of

Plaintiff’s contact with his family was intentional and reckless, extreme and outrageous, and

caused Plaintiff severe emotional distress.

        41. Iran’s treatment of Plaintiff violated acceptable norms of treatment under both

U.S. and international law, and was also for that reason extreme and outrageous.

        42. Iran’s actions left Plaintiff severely emotionally and psychologically damaged.

                                     COUNT IV
               (§ 1605A(c) CAUSE OF ACTION – FALSE IMPRISONMENT)

        43. Paragraphs 1 through 42 above are incorporated as if set forth herein.

        44. Plaintiff was deprived of liberty without cause and without legal justification.

Defendants knew that they had no authority nor justification to take the actions they committed

against the Plaintiff.

        45. No evidence or probable cause has been offered by Iran to justify the arrest, detention

and torture of the Plaintiff; nor has any proof of any unlawful conduct been set forth. The entire

accusation has been baseless.

                                      COUNT V
   (18 U.S.C. § 1961 et seq. CAUSE OF ACTION - RACKETEER INFLUENCED AND
                           CORRUPT ORGANIZATIONS ACT)

        Plaintiff sues the RICO Defendants, as individuals engaging in racketeering activity of

actual and/or threatened kidnaping (18 U.S.C. §1201) and murder (18 U.S.C §1111), conspiracy

to commit racketeering activity violating Plaintiff’s rights in violation of 18 U.S.C. §1203
         Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 11 of 17




(Hostage Taking), for violating Plaintiff’s due process rights, constitutional rights, and for

misappropriating property, acting behalf of Iran. The RICO Defendants have systematically and

continuously, since 2007, conducted a corrupt enterprise in violation of the Racketeer Influenced

and Corrupt Organization (“RICO”) Act, all of which acts are continuing in nature. As grounds

therefore, Plaintiff alleges as follows:

                                       RICO DEFENDANTS

        46. The following individuals, hereinafter collectively referred to as the “RICO

Defendants” are /were high ranking members of the defendant Government of the Islamic

Republic of Iran, its Ministries, Agencies, and Instrumentalities, acting in conspiracy to violate

the Racketeer Influenced Corrupt Organizations Act as more fully more fully set forth herein.

Defendant HOSSIEN TAEB, is Head of the Intelligence Bureau, of the Islamic Revolution

Guards Corps (IRGC), Defendant MOHAMMAD ALI JAFARI is Commander of the Islamic

Revolution Guards Corps (IRGC), defendant MOHAMMAD HOSSIEN ZIBAINEJAD is Deputy

for Intelligence Bureau of the Islamic Revolution Guards Corps (IRGC), defendant QASEM

SOLEIMANI is Senior Military Officer Islamic Revolution, Guards Corps and Commander of

Quds Force., defendant MOHAMMAD BAGHERI is Chief of Staff for the Armed Forces of the

Islamic Republic of Iran, SADEQ ARDESHIR LARIJANI is Chief Justice of Iran, Iran Judicial

System, defendant GHOLAM-HOSSEIN MOHSENI-EJE’I is First Vice Chief Justice &

Judiciary Spokesperson, Iran Judicial System, and defendant ABBAS JAFARI DOLATABADI

is Tehran Chief Prosecutor. At all times relevant hereto, the RICO Defendants engaged in a

pattern of racketeering activity, to wit , actual or threatened kidnaping and/or murder, on behalf

of Iran. Each RICO Defendant held an official government office/role wherein they had the

common goal of achieving gains for Iran.
         Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 12 of 17




       47. Paragraphs 1 through 46 above are incorporated as if set forth herein.

       48. This Count is a civil action for violations of 18 U.S.C. § 1961 et seq. (“Racketeer

Influenced and Corrupt Organizations Act” or “RICO”). RICO addresses the corrupt abuse and

misuse of organizations, entities, businesses, institutions or even governments or government

agencies, such that superficially legitimate entities actually operate for criminal purposes

irrelevant to the entity’s purpose. The RICO Defendants did unlawfully, knowingly and

intentionally combine, conspire, confederate, and agree together with each other, and with others

whose names are both known and unknown, to conduct and participate, directly and indirectly, in

the conduct of the affairs of the aforementioned enterprise, which was engaged in, and the

activities of which affected foreign commerce, through a pattern of racketeering activity

consisting of multiple acts indictable under 18 U.S.C. §1201 and 18 U.S.C §1111, in violation of

18 U.S.C. § 1962(d).

       49. All RICO Defendants, purported to work for the benefit and on behalf of the

Government of the Islamic Republic of Iran, its Ministries, Agencies, and Instrumentalities, and

engaged in a pattern of racketeering activity involving acts and/or threats of murder and

kidnaping, intending to cause harm and loss to plaintiff, such harm and loss continuing upon

plaintiff’s return to the United States. Each defendant agreed that at least two acts of racketeering

activity would be committed by a member of the conspiracy in furtherance of the conduct of the

enterprise, including but not limited to communications, actions and coordinated conduct. It was

part of the conspiracy that defendants and their co-conspirators would commit numerous acts of

racketeering activity in the conduct of the affairs of the enterprise.

       50. The RICO Defendants engaged in a pattern of actual or threatened kidnaping and

murder against United States Citizens, including the plaintiff, as described below:
Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 13 of 17




    A. On or about March 9. 2007, American Victim One was kidnaped and

    threatened with murder by the RICO Defendants. The last Proof of Life American

    Victim One was December 9, 2011.

    B. On or about July 31, 2009, American Victim Two, American Victim Three

    and American Victim Four, were kidnaped and threatened with murder by the

    RICO Defendants. American Victims Two, Three and Four were hikers.

    C. On or about August 29, 2011, American Victim Five was kidnaped and

    threatened with murder by the RICO Defendants. American Victim Five was

    released after the defendant Iran received a total 1.7 billion dollar cash payment

    from the United States.

    D. On or about September 28, 2012 American Victim Six was kidnaped by the

    RICO Defendants. American Victim Six was released after the defendant Iran

    received a total 1.7 billion dollar cash payment from the United States.

    E. On or about July 22, 2014, American Victim Seven was kidnaped and

    threatened with murder by the RICO Defendants. American Victim Seven was

    released after the defendant Iran received a total 1.7 billion dollar cash payment

    from the United States.

    F. In or about 2015, American Victim Eight, was kidnaped and threatened with

    murder by the RICO Defendants. American Victim Eight was sentenced to 10

    years in prison.

    G. On or about May 1, 2015, American Victim Nine was kidnaped and threatened

    with murder by the RICO Defendants. American Victim Nine was released after

    the defendant Iran received a total 1.7 billion dollar cash payment from the United
        Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 14 of 17




              States.

              H. On or about October 15, 2015, American Victim Ten, was kidnaped and

              threatened with murder by the RICO Defendants. American Victim Ten was

              sentenced to 10 years in prison.

              I. On or about December 7, 2015, American Victim Eleven, was kidnaped and

              threatened with murder by the RICO Defendants. American Victim Eleven was

              released after the defendant Iran received a total 1.7 billion dollar cash payment

              from the United States.

              J. On or about February 1, 2016, American Victim Twelve, was kidnaped and

              threatened with murder by the RICO Defendants. American Victim Twelve was

              sentenced to 10 years in prison.

              K. On or about July 1, 2016, American Victim Thirteen, was kidnaped and

              threatened with murder by the RICO Defendants. American Victim Thirteen was

              sentenced to 27 years in prison, 124 lashes, a $243,000.00 fine and confiscation of

              all assets.

              L On or about October 2016, American Victim Fourteen was sentenced to 10

              years after being kidnaped and threatened with murder.

              M. On or about August 7, 2016, American Victim Fifteen, was kidnaped and

              threatened with murder. American Victim Fifteen was sentenced to 10 years in

              prison.

       51. The RICO Defendants engaged in a pattern of racketeering activity wherein RICO

Defendants Hossien Taeb, Mohammad Ali Jafari, Mohammad Hossein Zibainejad, , Qasem

Soleimani, and Mohammad Bagheri used their official roles in the Islamic Revolutionary Guard
         Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 15 of 17




Corps, on behalf of Iran to kidnap and threaten to murder the plaintiff and others, over at least a

ten [10] year period of time. RICO Defendants Sadeq Ardeshir Larijani, Gholam-Hossein

Mohseni-Eje”I, and Abbas Jafari Dolatabadi, used their official roles in the legal/justice system

of Iran, acting on behalf of Iran, to kidnap and threaten with murder the plaintiff and others, over

at least a ten [10] year period of time. All RICO Defendants acted in concert with one another to

achieve the object of the conspiracy, to wit, kidnap and threaten to murder the plainitff and

others. For example, Iran’s Constitution sets no limits or conditions on the right to legal counsel

and Article 35 states, “Both parties to a lawsuit have the right in all courts of law to select an

attorney, and if they are unable to do so, arrangements must be made to provide them with legal

counsel.” According to Article 48 of Iran’s Criminal Procedures Regulations, people also have

the right to ask for and have a meeting with a lawyer as soon as they are detained. However, the

“Note to Article 48” makes exceptions: “In cases of crimes against internal or external security…

during the investigation phase, the parties to the dispute are to select their attorneys from a list

approved by the head of the judiciary.” The Note to Article 48 was issued by Iran’s judiciary and

constituted am overt act in concert with the Islamic Revolutionary Guard Corps to facilitate the

kidnaping and threats to murder the plaintiff and others.

       52. The racketeering activity of the RICO Defendants resulted in domestic injury and

harm to the plaintiff. Plaintiff suffers from unspeakable emotional trauma, lost opportunities in

employment, academics, and business, all due to his being kidnaped and being threatened with

murder by the RICO Defendants.

       53. As a direct objective and result of the RICO Defendants racketeering activity, Iran

received approximately 1.7 billion US Dollars for the release of United States Citizens who had

been kidnaped and threatened with murder by the RICO Defendants.
          Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 16 of 17




         54. As a direct objective and result of the RICO Defendants racketeering activity, Iran

secured the release of approximately seven prisoners from U.S. prison via Presidential Clemency,

and the removal of Interpol Red Notices and dismissal of charges against fourteen [14] other

individuals wanted by the United States.

                                      PRAYER FOR RELIEF

         1. As a result of the personal injuries he has suffered due to acts of torture and

hostage-taking, Plaintiff is entitled to economic damages and compensatory damages for pain

and suffering, all of which are recoverable under the FSIA. 28 U.S.C. § 1605A.

         2. In addition to all appropriate compensatory damages, Plaintiff is entitled to

punitive damages because Iran’s acts were intentional, malicious, and performed deliberately to

injure, damage, and harm Plaintiff.

         3. Plaintiff is entitled to consequential damages for his lost earning potential and

other long-term damages.

         4. Plaintiff is entitled to aggravated damages for defendants’ cruelty, torture, and

abuse.

         5. Plaintiff is entitled to disgorgement damages for Defendants’ unlawful monetary

and other benefits obtained in exchange for any hostage.

         6. Plaintiff is otherwise entitled to general damages and all other applicable damages.

         7. Punitive damages should be assessed (under 28 U.S.C. § 1605A(c)).

         8. Plaintiff further seeks costs, attorneys’ fees, and such other relief as may be just

and proper, including pre-judgment interest.

         9. For the RICO violations, an award of trebled damages as consistent with 18

U.S.C. § 1964(c), compensatory and actual damages, reasonable attorneys’ fees,
         Case 1:18-cv-01619-CJN Document 1 Filed 07/10/18 Page 17 of 17




pre-judgment interest, post-interest, costs and an award that this Court deems just

and proper.

                                                     Respectfully submitted,

                                                      /s/
                                                     Jeremy Ibrahim
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